861 F.2d 267Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Arnold Lee VANCE, Petitioner-Appellant,v.Jerry HEDRICK, Warden, WV Penitentiary, Respondent-Appellee.
    No. 88-7125.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1988.Decided Sept. 30, 1988.
    
      Arnold Lee Vance, appellant pro se.
      David W. Johnson, Office of Attorney General, for appellee.
      Before SPROUSE, ERVIN, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Arnold Lee Vance seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Vance v. Hedrick, C/A No. 87-65-E (N.D.W.Va. Apr. 15, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    